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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                            Case No. 0:25-cv-60645-AHS

  TIKTOK GLOBAL LLC,

        Plaintiff,

  vs.

  BYTEDANCE LTD., TIKTOK INC. and
  YIMING ZHANG,

        Defendants.
                                     /


               DEFENDANTS BYTEDANCE LTD. AND TIKTOK INC.’S
                  MOTION TO DISMISS AMENDED COMPLAINT
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                                           INTRODUCTION 1

           Defendants’ prior motion to dismiss (ECF 10) demonstrated that Plaintiff lacks standing,

   fails to state a claim, and seeks relief that is time-barred. Nothing in Plaintiff’s First Amended

   Complaint (“FAC”) addresses any of those deficiencies. Instead, Plaintiff sues a non-existent

   entity and adds two frivolous and time-barred civil RICO counts, a duplicative, deficient, and time-

   barred FDUTPA count, and a deficient count for declaratory relief. This Court should dismiss this

   action with prejudice.

           As with the original complaint, the FAC makes clear that Plaintiff lacks standing.

   Defendants’ alleged rejection of Plaintiff’s predecessors’ unsolicited offers to buy TikTok’s U.S.

   operations in 2020 caused no redressable injury to Plaintiff—or to anyone else.

           As with the original complaint, even if this Court had jurisdiction (it does not), each cause

   of action fails to state a claim. Plaintiff’s antitrust claim alleges no harm to competition. Plaintiff’s

   tortious interference claim alleges no business relations with existing or prospective legal rights.

   Plaintiff’s unjust enrichment claim alleges no benefit conferred. Plaintiff’s consumer protection

   claims allege no consumer harm. Plaintiff’s RICO claims allege no pattern of predicate criminal

   activity. And Plaintiff’s request for declaratory relief is not based on an underlying cause of action.

           As with the original complaint, even if any of Plaintiff’s claims were cognizable (they are

   not), the applicable statutes of limitations—four years at the most—began to run in 2020, but

   Plaintiff did not file this suit until 2025. Dismissal should be with prejudice. Despite being on

   notice of its many independent deficiencies, the FAC did not cure any of them. Instead, it added

   more frivolous and time-barred claims. There is no basis for further leave to amend.


   1
    This motion is brought by ByteDance Ltd. and TikTok Inc. (“Defendants”). Yiming Zhang has
   not been served. To the undersigned’s knowledge, “Beijing Byte Dance Telecommunications Co.
   Ltd.” does not exist (and has not ever existed).

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                                          BACKGROUND

          TikTok is an online entertainment platform provided in the United States by TikTok Inc.,

   a California company. (FAC ¶ 15). 2 TikTok Inc. is a subsidiary of ByteDance Ltd. (“ByteDance”)

   (id. ¶ 7), which is incorporated in the Cayman Islands. In 2020, Yiming Zhang was ByteDance’s

   CEO. (Id.). The FAC names an additional defendant: Beijing Byte Dance Telecommunications

   Co. Ltd. (id. ¶ 17), but no company with that name exists.

          On August 14, 2020, President Trump issued an order that purported to require ByteDance

   to divest from its TikTok U.S. business within 90 days. (Id. ¶ 22); see also Order Regarding the

   Acquisition of Musical.ly by ByteDance Ltd., 85 Fed. Reg. 51,297 (Aug. 19, 2020) (“Order” or

   “Aug. 14, 2020 Order”). 3 Plaintiff “TikTok Global LLC,” which has no affiliation with

   Defendants, alleges that its principal, Brad Greenspan, hoped to acquire TikTok’s U.S. operations

   from ByteDance. (FAC ¶ 31; FAC Ex. 1, at 4). 4

          Plaintiff alleges that, in August 2020, Greenspan, also the principal of Plaintiff’s

   predecessors, contacted TikTok’s then-CEO Kevin Mayer about acquiring TikTok’s U.S.


   2
    This motion to dismiss assumes that the factual allegations in the FAC are true. For avoidance of
   doubt, Defendants do not concede the accuracy of any factual allegation.
   3
     President Trump issued another order targeting ByteDance on August 6, 2020, purporting to ban
   transactions with ByteDance and its subsidiaries in the U.S. under the International Emergency
   Economic Powers Act. (FAC ¶ 21); see also Exec. Order No. 13942, 85 Fed. Reg. 48,637 (Aug.
   11, 2020). That order was enjoined following lawsuits brought by ByteDance, TikTok Inc., and
   others. See TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 86 (D.D.C. 2020); TikTok Inc. v. Trump, 507
   F. Supp. 3d 92, 115 (D.D.C. 2020); Marland v. Trump, 498 F. Supp. 3d 624, 645 (E.D. Pa. 2020).
   4
     Greenspan is a serial plaintiff who has been declared a vexatious litigant. See Greenspan v.
   IAC/InterActiveCorp, 2016 WL 5724972, at *3 (N.D. Cal. Sept. 30, 2016). He has filed numerous
   lawsuits alleging conspiracies stemming from corporate transactions. See, e.g., LiveVideo.AI Corp.
   v. Redstone, 2025 WL 641465, at *1 (S.D.N.Y. Feb. 27, 2025); IAC/InterActiveCorp, 2016 WL
   5724972, at *1; Greenspan v. News Corp., 2016 WL 74921, at *1 (Del. Ch. Jan. 6, 2016). Plaintiff
   “TikTok Global LLC” appears to have been created on March 25, 2025, nine days before this
   lawsuit was filed. See Fla. Dep’t of State Div. of Corps., https://perma.cc/D94W-XHPW (last
   visited June 2, 2025).


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   operations. (FAC ¶ 28). Before they could meet, Mayer resigned as CEO, and Greenspan allegedly

   began communicating with different ByteDance executives “by email and LinkedIn messages” to

   inform them “of Plaintiff’s impending intent to acquire its TikTok U.S. property.” (Id. ¶¶ 30, 33).

          Plaintiff alleges that its predecessors—TikTok Global Network Inc., an Arkansas-based

   company, and TikTok Global Inc., a Delaware-incorporated company—were incorporated on

   September 6, 2020. (Id. ¶¶ 14, 31). Three days later, the companies submitted “notice to CFIUS

   [the Committee on Foreign Investment in the United States] under Section 2(d)(i) [of the Aug. 14,

   2020 Order] of [their] intent to bid for TikTok’s U.S. operations.” (Id. ¶ 37). The purported

   “notice” acknowledges that neither Greenspan nor his companies had any existing direct or indirect

   relationship with ByteDance or any of its officers, employees, or shareholders. (FAC Ex. 1, at 4).

          Nothing in the Aug. 14, 2020 Order contemplated Plaintiff’s purported “notice” to CFIUS.

   Section 2(d) of the Order, rather, outlined a procedure by which ByteDance could notify CFIUS

   of an intended buyer—not a procedure by which any other party could do so. 85 Fed. Reg. 51,297.

          After its purported “notice,” Plaintiff alleges that Greenspan followed up with CFIUS and

   ByteDance five days later, on September 14, 2020. (FAC ¶ 78). Plaintiff alleges that, later that

   morning, then-Treasury Secretary Mnuchin appeared on the television network CNBC, at which

   time he “announced that Oracle had been selected as the ‘trusted technology partner’ for TikTok’s

   U.S. operations” and “unveiled his own version of ‘TikTok Global.’” (FAC ¶¶ 92–93).

          According to the FAC, Greenspan and an associate then contacted Oracle, several members

   of Congress, and others, regarding the offer to buy TikTok’s U.S. operations. (Id. ¶¶ 113, 116,

   128; FAC Ex. 5, 6). Plaintiff alleges that “ByteDance publicly endorsed Mnuchin’s ‘TikTok

   Global’ venture” through a blog post on its website on September 20, 2020. (FAC ¶ 117). On

   September 24, 2020, Plaintiff claims that its predecessors submitted an updated bid, which




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   ByteDance and its CEO allegedly refused to accept. (Id. ¶¶ 127, 131). Plaintiff claims that, as a

   result, it has endured “crushing lost profits and priceless business opportunities that would have

   flowed naturally from a successful acquisition of TikTok’s U.S. operations.” (Id. ¶ 139).

          Plaintiff filed this lawsuit on April 3, 2025, more than four-and-a-half years after

   Defendants purportedly declined to accept Plaintiff’s predecessors’ alleged offers. Plaintiff now

   asserts claims for violation of the Sherman Antitrust Act (Count One), tortious interference (Count

   Two), unjust enrichment (Count Three), violations of the Florida Deceptive and Unfair Trade

   Practices Act (Counts Four and Six), violations of the Racketeer Influenced and Corrupt

   Organizations Act (Counts Seven and Eight), and declaratory relief (Count Five).

                                              ARGUMENT

          Plaintiff’s claims fail for multiple reasons: (1) under Rule 12(b)(1) for lack of standing and,

   as to Count Five, a justiciable controversy; (2) under Rule 12(b)(6) for failure to state a claim; and

   (3) under Rule 12(b)(6) due to the expiration of the statute of limitations apparent from the FAC.

   I.     The Court Lacks Subject Matter Jurisdiction.

          A federal court “cannot exercise jurisdiction over cases where the parties lack standing.”

   Fla. Wildlife Fed., Inc. v. S. Fla. Water Mgmt. Dist., 647 F.3d 1296, 1302 (11th Cir. 2011). Neither

   can it exercise jurisdiction over a claim that does not present a justiciable controversy. See Atlanta

   Gas Light Co. v. Aetna Cas. & Sur. Co., 68 F.3d 409, 414 (11th Cir. 1995).

          A.      Plaintiff lacks standing.

          To have standing, a plaintiff must demonstrate: (1) a concrete and particularized injury in

   fact, either actual or imminent, (2) a causal connection between the injury and the defendant’s

   challenged conduct, and (3) a likelihood that the injury suffered will be redressed by a favorable

   decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Plaintiff’s alleged injuries are

   its purported lost profits and missed business opportunities from not acquiring TikTok’s U.S.


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   operations from ByteDance. (See FAC ¶¶ 147, 179, 191, 206, 221, 235). Plaintiff’s alleged injuries

   do not confer standing.

          First, Plaintiff’s alleged injuries “amount to no more than conjecture.” Bochese v. Town of

   Ponce Inlet, 405 F.3d 964, 984 (11th Cir. 2005). Even assuming that Plaintiff had the financial

   means to effectuate its “offer,” it is beyond implausible that ByteDance would have sold TikTok’s

   U.S. operations to Plaintiff’s predecessors based on a handful of “email and LinkedIn messages”

   to generic inboxes and other addresses allegedly associated with the company (FAC ¶ 33; FAC

   Ex. 1, 2), from someone who had already been declared a vexatious litigant by a federal court, see

   n.4, supra, with no prior relationship with Defendants (FAC Ex. 1, at 4). “[W]ildly implausible

   allegations in the complaint should not be taken to be true.” Miller v. Donald, 541 F.3d 1091, 1100

   (11th Cir. 2008).

          Second, even if Greenspan’s emails, clip-art-infused slides (FAC pp. 7, 9, 17), and

   purported “Asset Purchase Agreement” (FAC Ex. 8) represented a plausible bid to acquire a

   company allegedly valued at the time at more than $50 billion (FAC Ex. 4, at 20), Plaintiff’s

   communications did not trigger the legal consequences that it imagines (see, e.g., FAC ¶ 201), let

   alone give rise to a legal interest sufficient to confer standing, see Lujan, 504 U.S. at 560 (to have

   standing, plaintiff must have suffered “an invasion of a legally protected interest”). “[T]he tenet

   that a court must accept as true all of the allegations contained in a complaint is inapplicable to

   legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Aug. 14, 2020 Order did not

   give Plaintiff any legal right. The Order required ByteDance to divest its U.S. TikTok assets and

   directed ByteDance—and only ByteDance—to notify CFIUS of the intended recipient or buyer of

   the assets before a divestiture could be completed. See 85 Fed. Reg. 51,297, Sec. 2(d)(i). It did not

   create any process by which parties could submit bids to CFIUS (or anyone else) for consideration.




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          Third, even if Plaintiff did have some sort of legal interest traceable to the Aug. 14, 2020

   Order (it did not), shortly after Greenspan allegedly submitted his bids, Defendants challenged the

   Order in court, which led to it not being enforced. 5

          The upshot is that, despite the issuance of the Aug. 14, 2020 Order, ByteDance was not

   forced to sell TikTok’s U.S. assets in the fall of 2020, and no CFIUS-mandated divestment ever

   occurred. It is already utterly implausible that ByteDance would have entertained an offer from

   Plaintiff under “fire sale” conditions in 2020 created by the Order; it is even more fanciful that

   ByteDance would have sold TikTok’s U.S. operations to Plaintiff under normal conditions. See

   Energy Transp. Grp., Inc. v. Maritime Admin., 956 F.2d 1206, 1211 (D.C. Cir. 1992) (“There could

   be no real injury—certainly no injury ‘fairly traceable’ to the allegedly illegal act—unless the

   plaintiff would have had some chance of prevailing in a bidding free of the alleged illegalities.”). 6

          B.      Count Five fails to present a justiciable controversy.

          The Court lacks subject matter jurisdiction over Plaintiff’s request for declaratory relief

   (Count Five) for the additional reason that the request does not present a justiciable controversy.

   See Malowney v. Fed. Collection Dep. Grp., 193 F.3d 1342, 1348 (11th Cir. 1999). Count Five

   asks the Court to determine the legal significance of Plaintiff’s alleged acquisition offers, including


   5
     See Pet. for Review, TikTok Inc. v. CFIUS, No. 20-1444 (D.C. Cir. Nov. 10, 2020) (challenging
   the Order as exceeding the President’s statutory authority, violating due process rights, violating
   the Administrative Procedure Act, and effecting an unconstitutional taking); Order, TikTok Inc. v.
   CFIUS, No. 20-1444 (D.C. Cir. Feb. 19, 2021) (ordering that the case be held in abeyance and
   directing the government to file periodic status reports); Status Report, TikTok Inc. v. CFIUS, No.
   20-1444 (D.C. Cir. Apr. 15, 2025) (abeyance continues to be appropriate).
   6
     Apparently referring to Defendants’ alleged use of the phrase “TikTok Global” in a blog post
   and Secretary Mnuchin’s use of the same phrase on CNBC, Plaintiff complains of
   “misappropriation of its corporate identity and branding.” (FAC ¶ 147). Plaintiff appears to claim
   that this prevented it from raising money from investors to buy TikTok’s U.S. assets. (Id. ¶¶ 172,
   235; FAC Ex. 12). For the reasons stated above, however, it is implausible that Plaintiff’s alleged
   bid to buy TikTok’s U.S. assets had any chance of success, no matter whether any
   “misappropriation” of Plaintiff’s “brand” occurred (it did not).


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   whether ByteDance has an obligation to divest from its U.S. operations under the Protecting

   Americans from Foreign Adversary Controlled Applications Act (“PAFACA”) and the Aug. 14,

   2020 Order. (FAC ¶ 232). But Plaintiff’s “offers” have been withdrawn (FAC ¶ 136), rendering

   their legal significance moot. See Nat’l Parks Conservation Ass’n, Inc. v. U.S. Army Corps of Eng.,

   574 F. Supp. 2d 1314, 1320 (S.D. Fla. 2008) (expiration of permit renders claims based on permit

   moot). And there is no federal jurisdiction for Plaintiff’s “abstract question” about Defendants’

   compliance with federal law. See Hendrix v. Poonai, 662 F.2d 719, 722 (11th Cir. 1981); see also

   Provident Life & Acc. Ins. Co. v. Transam.-Occidental Life Ins. Co., 850 F.2d 1489, 1491 (11th

   Cir. 1988) (no justiciable controversy when plaintiff has “no interest” in the claim).

   II.    Plaintiff Fails to State a Claim.

          A Rule 12(b)(6) motion tests the sufficiency of the pleadings. See Harris v. Procter &

   Gamble Cellulose Co., 73 F.3d 321, 324 (11th Cir. 1996). “Plausibility is the key, as the well-pled

   allegations must nudge the claim across the line from conceivable to plausible.” Jacobs v. Tempur-

   Pedic Int’l, Inc., 626 F.3d 1327, 1333 (11th Cir. 2010) (quotations omitted). “Threadbare recitals

   of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

   Iqbal, 556 U.S. at 678. As detailed below, the FAC fails to plausibly allege any actionable claims.

          A.      Plaintiff’s antitrust claim fails.

          Count One asserts a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, which

   requires Plaintiff to “show that defendants had a (1) conspiracy that (2) unreasonably restrained

   trade.” In re Jan. 2021 Short Squeeze Trading Litig., 105 F.4th 1346, 1354 (11th Cir. 2024). This

   claim fails for multiple reasons.

          First, the “antitrust laws … were enacted for the protection of competition not

   competitors.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488 (1977) (quotations

   omitted). To bring an antitrust action, a plaintiff must have suffered an “antitrust injury,” which is


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   an injury “attributable to an anti-competitive aspect of the practice under scrutiny.” Atlantic

   Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 334 (1990). Plaintiff does not plausibly allege

   that its injury (lost profits from not acquiring TikTok’s U.S. operations) stems from a reduction in

   competition. See Expert Masonry, Inc. v. Boone Cnty., Ky., Fiscal Ct., 440 F.3d 336, 348 (6th Cir.

   2006) (no antitrust injury suffered by “dejected buyers or sellers who simply allege that one buyer

   and one seller colluded to reach a deal that may or may not have been inferior to the deal offered

   by the disappointed party”).

           Second, the FAC does not plausibly allege a restraint on “trade,” a term used in the Sherman

   Act to mean the “commercial competition in the marketing of goods or services.” Kalmanovitz v.

   G. Heileman Brewing Co., 769 F.2d 152, 156 (3d. Cir. 1985) (quoting Apex Hosiery Co. v. Leader,

   310 U.S. 469, 495 (1940)). Plaintiff’s alleged bid, which Defendants allegedly restrained by

   blocking, “does not fall within this definition.” Id. “The antitrust laws simply were not designed

   to regulate this type of corporate power struggle.” Id.

           Third, Plaintiff fails to invoke any plausible theory of an antitrust violation. Plaintiff’s use

   of buzzwords like “market allocation,” “bid rigging,” “concerted refusal to deal,” and “group

   boycott” (FAC ¶¶ 153–56) are immaterial. Each of these antitrust concepts requires a “horizontal

   agreement” between competitors. See, e.g., Ohio v. Am. Express Co., 585 U.S. 529, 540–41 (2018)

   (“Typically    only   ‘horizontal’    restraints—restraints    ‘imposed    by    agreement     between

   competitors’—qualify as unreasonable per se.”). But Plaintiff has not alleged that Defendants and

   their alleged co-conspirator Oracle are horizontal competitors. To the contrary, the FAC alleges

   that Defendants provide a short-form video platform (FAC ¶ 1), while Oracle is a cloud-storage

   provider (id. ¶ 99). Their relationship, if any, is vertical, not horizontal. See United States v. Topco




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   Assocs., Inc., 405 U.S. 596, 608 (1972) (vertical relationships are those between “persons at

   different levels of the market structure, e.g., manufacturers and distributors”).

          Finally, because the alleged relationship between ByteDance and Oracle is vertical, not

   horizontal, the “rule of reason” applies. See Am. Express Co., 585 U.S. at 541 (all restraints that

   are not per se unreasonable are judged by the “rule of reason”). To avoid dismissal at the pleading

   stage, the plaintiff must at least (1) define the market and (2) make “specific factual allegations”

   of anticompetitive effects. Jacobs, 626 F.3d at 1336, 1339. But Plaintiff does neither. Plaintiff fails

   to “present enough information in [its] complaint to plausibly suggest the contours” of a relevant

   market. See id. at 1336. “Without a definition of [the] market there is no way to measure [the

   defendant’s] ability to lessen or destroy competition,” requiring dismissal. Am. Express Co., 585

   U.S. at 543 (quotations omitted). Plaintiff also fails to plead “specific anticompetitive effects,” In

   re Short Squeeze, 105 F.4th at 1355, such as “reduction of output, increase in price, or deterioration

   in quality,” Jacobs, 626 F.3d at 1339. Plaintiff’s only allegation of harm is to its own profits and

   business opportunities. (See FAC ¶ 179).

          B.      Plaintiff’s tortious interference claim fails.

          Count Two asserts a tortious interference claim. To state a claim for tortious interference

   with advantageous business relationships under Florida law, a plaintiff must show “(1) the

   existence of a business relationship under which the plaintiff has legal rights; (2) an intentional

   and unjustified interference with the relationship; and (3) damage to the plaintiff as a result of the

   tortious interference with that relationship.” Coach Servs., Inc. v. 777 Lucky Accessories, Inc., 752

   F. Supp. 2d 1271, 1273 (S.D. Fla. 2010) (quotations omitted).

          The elements of this claim are substantively similar in Arkansas, California, Delaware, and

   New York, the other jurisdictions that, from the face of the FAC, may have a relationship to this




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   claim. 7 Because the laws of those states all point to the same outcome—that Plaintiff fails to state

   a claim for tortious interference—the Court need not decide which state’s law applies. See, e.g.,

   Davis v. Great N. Ins. Co., 650 F. Supp. 3d 1332, 1338 (S.D. Fla. 2023) (“A choice of law analysis

   is only necessary if the outcome would be different based on one state’s laws over the other.”).

          Plaintiff fails to state a claim for tortious interference under any relevant state’s law because

   it has not plausibly alleged the existence of a relevant, specific business relationship under which

   it had any existing or prospective legal rights. A “speculative allegation regarding a potential

   business relationship is insufficient to support a tortious interference claim.” BWG Design Ltd.,

   Inc. v. Serv. Am. Corp., 2010 WL 5014289, at *6 (S.D. Fla. Dec. 3, 2010). While Plaintiff alleges

   that it had “a reasonable expectation of economic advantage from its bid to acquire TikTok’s U.S.

   operations” from ByteDance (FAC ¶ 183), that conclusory allegation misconstrues the Aug. 14,

   2020 Order, which provided that ByteDance could not complete a divestment of TikTok’s U.S.

   operations to any third party under the Order “(i) until ByteDance notifies CFIUS in writing of the

   intended recipient or buyer.” 85 Fed. Reg. 51,297, Sec. 2(d)(i) (emphasis added). Plaintiff’s

   alleged notification to CFIUS of its intention to submit an offer had no legal significance—and it

   certainly did not obligate ByteDance to sell TikTok’s U.S. operations to Plaintiff. Neither the

   purported notification nor any other alleged action on the part of Plaintiff afforded it any “existing

   or prospective legal or contractual rights.” Collier HMA Physician Mgmt., LLC v. NCH Healthcare

   Sys., Inc., 591 F. Supp. 3d 1204, 1215 (M.D. Fla. 2022).

          Plaintiff also has not plausibly alleged any cognizable form of interference. Plaintiff’s

   theory is that it allegedly submitted bids to Defendants to buy TikTok’s U.S. operations from


   7
    See, e.g., Crockett v. C.A.G. Invs., Inc., 361 S.W.3d 262, 267 (Ark. 2010); Malpiede v. Townson,
   780 A.2d 1075, 1099 (Del. 2001); Crown Imports, LLC v. Sup. Ct., 168 Cal. Rptr. 3d 228, 235
   (Cal. Ct. App. 2014); Zetes v. Stephens, 108 A.D.3d 1014, 1020 (N.Y. App. Div. 2013).


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   Defendants. (See FAC ¶ 78). Plaintiff contends that Defendants then interfered with those bids by

   not accepting them. But Defendants cannot tortiously interfere with themselves. See MAC East,

   LLC v. Shoney’s, 535 F.3d 1293, 1297 (11th Cir. 2008) (“[A] tortious interference claim can be

   maintained only when the defendant is independent of or a stranger to the relation or contract with

   which he allegedly interfered.”). 8

          C.      Plaintiff’s unjust enrichment claim fails.

          Count Three asserts a claim for unjust enrichment. To state a claim for unjust enrichment

   under Florida law, a plaintiff must show that “(1) the plaintiff has conferred a benefit on the

   defendant; (2) the defendant voluntarily accepted and retained that benefit; and (3) the

   circumstances are such that it would be inequitable for the defendants to retain it without paying

   the value thereof.” In re Takata Airbag Prod. Liab. Litig., 255 F. Supp. 3d 1241, 1261 (S.D. Fla.

   2017). These elements do not materially differ between the various states that may have a

   relationship to Plaintiff’s claim. 9 For multiple reasons, the FAC fails to plead unjust enrichment.

          First, Plaintiff does not plausibly allege that it conferred a benefit on ByteDance—i.e., that

   ByteDance was enriched at Plaintiff’s expense. Plaintiff alleges that ByteDance received the

   benefit of “maintaining control over TikTok’s U.S. operations … , all while sidestepping the

   genuine divestment mandated by the Executive Order.” (FAC ¶¶ 196, 198). But Plaintiff has not



   8
    Accord Shekerdemian v. Silverback United Inc., 2024 WL 3312036, at *2 (S.D. Fla. June 5, 2024)
   (“It is well settled that ‘[o]ne cannot tortiously interfere with a contract to which it is a party.’”);
   Crystal Clear Comp. Sols. LLC v. City of Helena-West Helena, 559 F. Supp. 3d 837, 855 (E.D.
   Ark. 2021) (“A party to a contract cannot … be held liable for interfering with the party’s own
   contract.”) (quotations omitted); Sivas v. Luxottica Retail N. Am., Inc., 2019 WL 4189811, at *4
   (E.D. Cal. Sept. 4, 2019) (“[Defendant] cannot be charged with interfering with its own
   relationship with [Plaintiff].”).
   9
    See, e.g., Nemec v. Shrader, 991 A.2d 1120, 1130 (Del. 2010); Hatchell v. Wren, 211 S.W.3d
   516, 522 (Ark. 2005); Goel v. Ramachandran, 111 A.D.3d 783, 791 (N.Y. App. Div. 2013);
   Peterson v. Cellco P’ship, 80 Cal. Rptr. 3d 316, 323 (Cal. Ct. App. 2008).


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   alleged—and cannot plausibly allege—that it conferred that benefit on ByteDance. See, e.g., Davis

   v. Chapon, 2015 WL 10791962, at *5 (M.D. Fla. Aug. 11, 2025) (dismissing unjust enrichment

   claim for failure to plausibly allege that plaintiff conferred a benefit on defendant). As explained

   above, what ultimately allowed ByteDance to maintain control over TikTok’s U.S. operations,

   despite the Aug. 14, 2020 Order, was a legal challenge to the Order brought by Defendants, not by

   Plaintiff. See page 6, supra.

          Second, Plaintiff fails to plausibly allege that ByteDance “voluntarily accepted” and

   “retained” a benefit. See In re Takata Airbag Prod. Liab. Litig., 255 F. Supp. 3d at 1261. To the

   extent that Plaintiff alleges that the benefit it conferred on Defendants was its alleged “strategic

   briefs” containing “new options and strategies” (FAC ¶ 198), Plaintiff repeatedly alleges elsewhere

   in the FAC that Defendants rejected those strategies (see, e.g., id. ¶¶ 141, 186). Indeed, those briefs

   advocated for the sale of TikTok’s U.S. operations to Plaintiff. (Id. ¶ 198). Defendants did not

   accept that advice. Reading the FAC as a whole, Aldana v. Del Monte Fresh Produce, N.A., Inc.,

   416 F.3d 1242, 1252 n.11 (11th Cir. 2005), Plaintiff’s claim for unjust enrichment therefore fails.

   See, e.g., Mitsui O.S.K. Lines, Ltd. v. Dynasea Corp., 85 Cal. Rptr. 2d 1, 4 (Cal. Ct. App. 1999)

   (defendant “obtained no benefit from the containers it rejected”).

          D.      Plaintiff’s consumer protection claims fail.

          Counts Four and Six assert consumer protection claims under the Florida Deceptive and

   Unfair Trade Practices Act, Fla. Stat. § 501.204, et seq. (“FDUTPA”). Court Four alleges that

   ByteDance “falsely portrayed the Oracle partnership as a genuine divestment of TikTok’s U.S.

   operations.” (FAC ¶ 213). Count Six alleges that Defendants unfairly used the “TikTok Global”

   brand. (Id. ¶ 235). To state a claim under FDUTPA, a plaintiff must show “(1) a deceptive act or

   unfair practice, (2) causation, and (3) actual damages.” State Farm Mut. Auto. Ins. Co. v.

   Performance Ortho. & Neurosurgery, LLC, 315 F. Supp. 3d 1291, 1300 (S.D. Fla. 2018). A


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   deceptive act or unfair practice is one that, among other things, is likely to mislead or injure

   consumers. See id. (quotations omitted). Plaintiff’s FDUTPA claims fails for at least two reasons.

          First, to state a FDUTPA claim, “a plaintiff must allege that the underlying practice or act

   was harmful to a consumer.” Golden v. Mercury Auto Transp., LLC, 2024 WL 821361, at *2 (S.D.

   Fla. Jan. 30, 2024) (emphasis added). But Plaintiff alleges only harm to itself. (See FAC ¶¶ 221–

   22, 235, 238). And Plaintiff, in this context, is not plausibly a consumer. Rather, Plaintiff alleges

   that it was a business competitor (see id. ¶ 162), interested in acquiring a portion of Defendants’

   business. See In re Takata Airbag Prods. Liab. Litig., 524 F. Supp. 3d 1266, 1293 (S.D. Fla. 2021)

   (considering a business competitor to be a non-consumer). That alone warrants dismissal. See

   Tymar Dist. LLC v. Mitchell Grp. USA, LLC, 558 F. Supp. 3d 1275, 1290 (S.D. Fla. 2021).

          Second, “FDUTPA applies only to action that occurred within the state of Florida.” Zarfati

   v. Artsana USA, Inc., 2025 WL 373081, at *12 (S.D. Fla. Jan. 15, 2025) (quotations omitted).

   Plaintiff does not allege that any of Defendants’ conduct occurred in Florida. The FAC concedes

   that Defendants are not Florida corporations or residents. (Id. ¶¶ 15–16). Plaintiff’s predecessors—

   which allegedly submitted the bids to Defendants—were not Florida residents either. (Id. ¶ 14).

   The only connection this case has to Florida is the allegation that Plaintiff itself is now a Florida

   LLC. (Id.). But Plaintiff does not allege that it was a Florida LLC in 2020 when the alleged false

   representations and unfair conduct occurred. And Plaintiff cannot allege that Defendants’ conduct

   was “directed to [Plaintiff] in Florida and that Florida consumers were misled.” Buckley v. Moore,

   2021 WL 3173185, at *9 (S.D. Fla. July 26, 2021). Thus, Plaintiff’s FDUTPA claims fail. See

   W.W. Sports Importadora Exportadora e Comercial Ltda v. BPI Sports, LLC, 2016 WL 9375202,

   at *5 (S.D. Fla. Aug. 11, 2016) (dismissing FDUTPA claim against “non-resident defendant

   accused of no wrongful conduct in Florida”).




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           E.      Plaintiff’s RICO claims fail.

           Counts Seven and Eight assert claims under the Racketeer Influenced and Corrupt

   Organizations Act, 18 U.S.C. § 1961 et seq. (“RICO”), based on a series of vague and conclusory

   allegations concerning what Plaintiff calls (but does not define) the “Z-BOT RICO Enterprise.”

   (See, e.g., FAC ¶¶ 53–77).

           “A private plaintiff suing under the civil provisions of RICO must plausibly allege six

   elements: that the defendants (1) operated or managed (2) an enterprise (3) through a pattern (4)

   of racketeering activity that included at least two predicate acts of racketeering, which (5) caused

   (6) injury to the business or property of the plaintiff.” Cisneros v. Petland, Inc., 972 F.3d 1204,

   1211 (11th Cir. 2020). If there is no substantive RICO violation, there is no conspiracy. See

   Jackson v. BellSouth Telecomm., 372 F.3d 1250, 1269 (11th Cir. 2004). Plaintiffs’ RICO claims

   fail for several reasons.

           First, the FAC does not plausibly allege an “enterprise.” A RICO plaintiff asserting an

   association-in-fact enterprise (FAC ¶ 54) must allege that the participants of the enterprise “shared

   a fraudulent or otherwise criminal common purpose.” DJ Lincoln Ents., Inc. v. Google, LLC, 2021

   WL 3079855, at *2 (S.D. Fla. July 21, 2021); see also Cisneros, 972 F.3d at 1211. Plaintiff does

   not do so. Especially as to the alleged non-party participants, the FAC alleges only “innocuous

   conduct that does not itself demonstrate a fraudulent purpose.” DJ Lincoln Ents., Inc., 2021 WL

   3079855, at *2. And Defendants cannot be in a RICO enterprise by themselves. See U1itforless,

   Inc. v. FedEx Corp., 871 F.3d 199, 206 (2d Cir. 2017).

           Second, the FAC fails to allege a “pattern” of unlawful activity. To plead a “pattern,” a

   plaintiff must allege a series of related predicates “extending over a substantial period of time” or

   predicate acts that by their nature “project[] into the future with a threat of repetition.” H.J. Inc. v.

   Northwestern Bell Tel. Co., 492 U.S. 229, 241–42 (1989). A “substantial period of time” is


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   measured in years, not weeks. Cisneros, 972 F.3d at 1216. But the acts complained of in the FAC

   all took place in September 2020. And there is no “threat of repetition.” Defendants’ alleged efforts

   to avoid divestment under a Presidential order that is no longer being enforced, see page 6, supra,

   is “by its very nature a singular event,” Ubuy Holdings, Inc. v. Gladstone, 340 F. Supp. 2d 1343,

   1349 (S.D. Fla. 2004).

          Third, the FAC does not plausibly allege any predicate “racketeering activity.” RICO

   defines “racketeering activity” as indictable acts under enumerated state and federal crimes. See

   18 U.S.C. § 1961(1). Although Plaintiff refers to mail and wire fraud, theft of trade secrets,

   economic espionage, and bribery (see, e.g., FAC ¶¶ 85–86, 101–05, 120–22, 242), the FAC fails

   to put forward “enough facts with respect to each predicate act to make it independently indictable

   as a crime.” Cisneros, 972 F.3d at 1215.

          RICO claims predicated on mail or wire fraud “must comply not only with the plausibility

   criteria articulated in Twombly and Iqbal but also with Fed. R. Civ. P. 9(b)’s heightened pleading

   standard.” Am Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010). The FAC

   “contains a litany of alleged wrongdoing; it lacks, however, any specific descriptions of allegedly

   fraudulent statements, documents or misrepresentations or the specific defendant(s) responsible

   for them.” Drummond v. Zimmerman, 454 F. Supp. 3d 1210, 1218 (S.D. Fla. 2020). There is only

   one vague allegation of a misrepresentation: Defendants’ allegedly false portrayal of the Oracle

   partnership as a divestment of TikTok’s U.S. operations. (FAC ¶ 213). That allegation, on its own,

   is plainly insufficient to support an indictment of mail or wire fraud.

          The FAC likewise fails to plead theft of trade secrets or economic espionage. For

   information to be a “trade secret,” the owner of the information must take “reasonable measures

   to keep such information secret.” 18 U.S.C. § 1839(3). Assuming that Plaintiff views its “offers”




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   and “strategy guide” as trade secrets (FAC ¶¶ 74, 103–05), Plaintiff does not allege that it took

   any measures to keep such information secret. To the contrary, Plaintiff shared them with the press,

   members of Congress, and others in an effort to generate support for its bid. (Id. ¶¶ 113, 116, 128;

   FAC Ex. 5, 6, 11). And there is no allegation that Defendants intended or knew that use of

   Plaintiff’s purported “offers” or “strategy guide” would benefit a foreign government, an

   instrumentality of a foreign government, or an agent of a foreign government, to support an

   economic espionage claim. See 18 U.S.C. §§ 1831, 1839(1)–(2).

           The FAC also fails to plead bribery: there is simply no allegation in the FAC that

   Defendants “corruptly” gave, offered, or promised “anything of value to any public official ... with

   intent ... to influence any official act.” 18 U.S.C. § 201.

           Fourth, the FAC does not plausibly allege an injury to Plaintiff’s business or property. As

   demonstrated above, it is wholly implausible that Plaintiff would have been able to acquire

   TikTok’s U.S. operations from Defendants but for the challenged conduct. See pages 4–6, supra.

   “[S]peculative allegations of economic injury are insufficient to state an injury to business or

   property under RICO.” Klayman v. Clinton, 2015 WL 10857500, at *6 (S.D. Fla. Aug. 11, 2015).

           Fifth, for that same reason, the FAC does not plausibly allege causation. A civil RICO

   plaintiff must “plead facts sufficient to give rise to a reasonable inference that the claimed

   racketeering activity … was the but-for and proximate cause of the plaintiff’s injuries.” Ray v.

   Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th Cir. 2016). “The connection between the

   racketeering activity and the injury can be neither remote, purely contingent, nor indirect.” Id. In

   this case, it is all three.

           Finally, because Plaintiff has not alleged a cognizable RICO violation, the RICO

   conspiracy claim, Count Eight, fails. See, e.g., Jackson, 372 F.3d at 1269 (“We have already found




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   that the complaint failed to state a substantive RICO claim, and the RICO conspiracy adds nothing.

   It simply concludes that the defendants ‘conspired and confederated’ to commit conduct which in

   itself does not constitute a RICO violation.”).

          F.      Plaintiff’s request for declaratory relief fails.

          Court Five seeks declaratory relief. Plaintiff asks the Court to declare: (i) that Plaintiffs’

   alleged (and since revoked, see FAC ¶ 136) “offers” from 2020 to buy TikTok’s U.S. operations

   “comply with the requirements” of PAFACA and the Aug. 14, 2020 Order; (ii) that ByteDance

   must divest TikTok’s U.S. operations in accordance with PAFACA and the Aug. 14, 2020 Order;

   and (iii) that Plaintiff has the right to TikTok’s U.S. operations. (Id. ¶ 232).

          Even if a justiciable controversy existed, Plaintiff’s request for declaratory relief fails.

   “Declaratory relief is a procedural device which depends on an underlying substantive cause of

   action and cannot stand on its own.” Padilla v. Porsche Cars N. Am., Inc., 391 F. Supp. 3d 1108,

   1119 (S.D. Fla. 2019). No cause of action could entitle Plaintiff to TikTok’s U.S. assets on the

   basis of Plaintiff’s alleged offers, which by Plaintiff’s own admission are withdrawn. (FAC ¶ 136).

          Indeed, neither PAFACA nor the Aug. 14, 2020 Order authorizes a cause of action at all.

   PAFACA vests exclusive enforcement authority in the Attorney General. See Pub. L. 118–50, div.

   H, 138 Stat. 955, Sec. 2(d). And any “petition for review challenging [PAFACA] or any action,

   finding, or determination under [PAFACA] may be filed only” in the D.C. Circuit. Id. Sec. 3(a).

   As the President’s recent executive orders concerning TikTok make clear, “attempted enforcement

   [of PAFACA] by … private parties represents encroachment on the powers of the Executive.”

   Exec. Order No. 14258, 90 Fed. Reg. 15,209 (Apr. 9, 2025), Sec. 1(d). The Aug. 14, 2020 Order

   likewise provides no mechanism for a private party to enforce its commands. See 85 Fed. Reg.

   51,297, Sec. (h)(i); see also Durr v. Strickland, 602 F.3d 788, 789 (6th Cir. 2010) (plaintiff not

   entitled to declaratory relief under statute that provided no private right of action).


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          Even if there were an underlying cause of action that could entitle Plaintiff to substantive

   relief, Plaintiff’s request for declaratory relief would fail on the merits. Plaintiff did not “comply”

   with the Aug. 14, 2020 Order because there is nothing in the Order with which Plaintiff could

   comply. See page 3, supra. And this Court cannot determine whether Plaintiff’s alleged offers

   would “comply with the requirements of” PAFACA, because PAFACA vests “qualified

   divestiture” determinations with the President. 138 Stat. 955, Sec. 2(g)(6). In addition, neither the

   Aug. 14, 2020 Order nor PAFACA “obligate[s]” ByteDance to divest its TikTok U.S. operations

   because as of this filing neither the Aug. 14, 2020 Order nor PAFACA is being enforced. See page

   6, supra; 90 Fed. Reg. 15,209. Indeed, PAFACA does not require divestment at all. Rather, it bans

   the TikTok platform in the U.S. unless there is a qualified divestiture. Under the terms of the

   statute, in other words, ByteDance could choose not to divest.

   III.   Plaintiff’s Claims Are Time-Barred.

          Dismissal is appropriate on statute-of-limitations grounds “if it is apparent from the face

   of the complaint that the claim is time-barred.” Blessinger v. Aecom, 526 F. Supp. 3d 1319, 1324

   (S.D. Fla. 2021) (quotations omitted).

          The statute of limitations is four years, at most, for each of Plaintiff’s substantive claims. 10

   See Morton’s Market, Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823, 827 (11th Cir. 1999) (Clayton

   Act, governing private Sherman Act actions); Brooks v. Blue Cross & Blue Shield of Fla., 116

   F.3d 1364, 1380 (11th Cir. 1997) (RICO); Newer v. FCA US LLC, 552 F. Supp. 3d 1344, 1363

   (S.D. Fla. 2021) (FDUTPA and unjust enrichment); MYD Marine Distributors, Inc. v. Donovan

   Marine, Inc., 2009 WL 701003, at *2 (S.D. Fla. Mar., 16, 2009) (tortious interference).


   10
     Plaintiff’s deficient claim for declaratory relief is considered “procedural” and does not have its
   own statute of limitations; “it is the substantive right sued upon that governs the applicable
   limitations period.” Padilla, 391 F. Supp. 3d at 1119–20.


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          Even if Plaintiff had stated a claim for relief, that claim would have accrued in September

   2020, more than four years ago. Plaintiff’s antitrust claim would have accrued in September 2020

   when ByteDance and Oracle allegedly conspired to suppress Plaintiff’s bid to buy TikTok’s U.S.

   operations (FAC ¶ 162). See Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338

   (1971) (antitrust claim accrues “when a defendant commits an act that injures a plaintiff’s

   business”). Plaintiff’s conclusory allegation that ByteDance’s “continued refusal to divest”

   constitutes an “ongoing violation” (FAC ¶ 181) is beside the point: “even when a plaintiff alleges

   a continuing violation, an overt act by the defendant is required to restart the statute of limitations

   and the statute runs from the last overt act.” Pace Indus., Inc. v. Three Phoenix Co., 813 F.2d 234,

   237 (9th Cir. 1987). Plaintiff’s RICO claims likewise would have accrued in September 2020 when

   Plaintiff’s predecessor was allegedly injured as a result of its inability to acquire TikTok’s U.S.

   operations (FAC ¶ 244). See Maiz v. Virani, 253 F.3d 641, 676 (11th Cir. 2001) (“[T]he limitations

   period for a civil RICO action begins to run when the injury was or should have been discovered.”).

          Plaintiff’s tortious interference claim would have accrued no later than September 2020

   when ByteDance allegedly “engaged in deliberate acts of interference” with Plaintiff’s attempted

   bid (FAC ¶ 186). 11 See Effs v. Sony Pictures Home Ent., Inc., 197 So.3d 1243, 1244–45 (Fla. Dist.

   Ct. App. 2016) (tortious interference claim accrued when plaintiff learned of alleged interference,

   and continuing tort doctrine did not apply). 12


   11
     Tortious interference has a three-year statute of limitations in Arkansas, Delaware, and New
   York, and two-year statute of limitations in California. See Gunn v. Farmers Ins. Exch., 372
   S.W.3d 346, 352 (Ark. 2010); SmithKline Beecham v. Merck & Co., 766 A.2d 442, 450 (Del.
   2000), Enzo Biochem, Inc. v. Amersham PLC, 981 F. Supp. 2d 217, 225 (S.D.N.Y. 2013); Optronic
   Techs. v. Celestron Acquisition, LLC, 329 Cal. Rptr. 3d 714, 729 (Cal. Ct. App. 2025).
   12
     Accord Progressive Sterilization, LLC v. Turbett Surg. LLC, 2020 WL 1849709, at *3 (D. Del.
   Apr. 13, 2020); Mtn Home Flight Serv., Inc. v. Baxter Cnty, 2012 WL 2339722, at *4 (W.D. Ark.
   June 19, 2012); Boon Rawd Trading Int’l Co., v. Paleewong Trading Co., 688 F. Supp. 2d 940,
   952 (N.D. Cal. 2010); Andrew Greenberg, Inc. v. Svane, Inc., 36 A.D.3d 1094, 1099 (N.Y. 2007).


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          Plaintiff’s unjust enrichment claim would have accrued no later than September 2020 when

   ByteDance allegedly received the benefit of “maintaining control over TikTok’s U.S. operations”

   by “dismissing [Plaintiff’s] legitimate acquisition proposals.” (FAC ¶¶ 196, 198). 13 See Flatirons

   Bank v. Alan W. Steinberg Ltd P’ship, 233 So.3d 1207, 1213 (Fla. Dist. Ct. App. 2017) (“The

   statute of limitations for an unjust enrichment claim begins to run at the time the alleged benefit is

   conferred and received by the defendant.”). 14 And Plaintiff’s FDUTPA claims would have accrued

   in September 2020 when ByteDance allegedly misrepresented the alleged Oracle partnership and

   “misappropriated” the “TikTok Global” name, allegedly causing Plaintiff’s damages (FAC ¶¶ 213,

   235). See Sundance Apartments I, Inc. v. Gen. Elec. Cap. Corp., 581 F. Supp. 2d 1215, 1223 (S.D.

   Fla. 2008) (FDUTPA claim accrues when all elements of claim have occurred).

                                            CONCLUSION

          This case should be dismissed with prejudice. There is no reason why this vexatious, serial

   litigant should be given further leave to amend. See Hogan v. Georgia, 812 Fed. Appx. 975, 976

   (11th Cir. 2020) (affirming dismissal with prejudice when plaintiff alleged a “vast conspiracy” that

   was “wildly implausible” and “patently frivolous”). Drafting a plausible complaint would be futile.

   See In re Fundamental Long Term Care, Inc., 873 F.3d 1325, 1347–48 (11th Cir. 2017).




   13
      Unjust enrichment has a three-year statute of limitations in Arkansas, Delaware, and New York
   (for money damages) and two years in California. See Keller v. FCOA, LLC, 2016 WL 110590, at
   *1 (W.D. Ark. Jan. 8, 2016), MirTech Inc. v. AgroFresh Inc., 561 F. Supp. 3d 447, 455 (D. Del.
   2021); Matana v. Merkin, 957 F. Supp. 2d 473, 494 (S.D.N.Y. 2013); City of L.A. v. Bank of Am.,
   2015 WL 4880511, at *3 (C.D. Cal. May 11, 2015).
   14
     Accord Davis v. BAC Home Loans Servicing, L.P., 2022 WL 4535623, at *5 (D. Del. Sept. 28,
   2022); Hampton v. Wells Fargo Bank, N.A., 2022 WL 798120, at *11 n.218 (E.D. Ark. Mar. 15,
   2022); Deutsch v. Cook, 2021 WL 5771667, at *3 (E.D. Cal. Dec. 6, 2021); L.I. Head Start Child
   Dev. Servs. v. Econ Opp’y Comm’n of Nassau Cnty, 558 F. Supp. 2d 378, 409 (E.D.N.Y. 2008).


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   June 2, 2025                       Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 2, 2025, I electronically filed the foregoing document with the

   Clerk of the Court using the CM/ECF system, which will provide electronic notice to all parties

   that have appeared in this action.



                                                /s/Spencer Silverglate
                                                Spencer Silverglate




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